Case 2:23-cv-14121-AMC Document 55 Entered on FLSD Docket 03/21/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION
                                     IN ADMIRALTY

                               CASE NO. 23-14121-CIV-CANNON

  BEYEL BROTHERS, INC.,

         Plaintiff,

  and

  RENE ALVARADO, ANDONY MELENDEZ,
  JADISHA ALVAREZ, DAVID RODRIGUEZ,
  FRANCISCO BRAVO, SLAUTIN IEVGEN,
  BUZILE GEORGII, MUZYCHKO OLEKSII,
  MEJIA ARTURO, MUNOZ JAIR, PELIKHOVSKY
  OLEKSANDR, BIELOVODOV DMYTRO,
  SOBCHENKO VADYM, LAMBERT JOEL,
  RUDENKO DMYTRO, BOHOMOLOV ANDRII,
  CANALES JUAN, STANLEY ARZU, and PAUL NATHAN,

         Intervening Plaintiffs,

  v.

  M/V MONARCH PRINCESS,
  a 106 meter cargo vessel,
  IMO Number 7725374, her engines,
  machinery, tackle, equipment and
  appurtenances thereto, in Rem,

         Defendant.

  ______________________________/

                                     ORDER CLOSING CASE

         THIS CAUSE comes before the Court upon the parties’ Joint Status Report [ECF No. 54],

  filed on February 1, 2024. The parties state that, following the sale of the Vessel to Plaintiff on

  January 2, 2024 [see ECF No. 52] and payment of the U.S. Marshal’s commission, the in rem

  claims against the Vessel have been extinguished, and no funds remain [ECF No. 54]. The parties
Case 2:23-cv-14121-AMC Document 55 Entered on FLSD Docket 03/21/2024 Page 2 of 2

                                                               CASE No. 23-14121-CV-CANNON


  further provide that “[t]here is nothing further to be done in the instant lawsuit and the case may

  be closed” [ECF No. 54 p. 2 ¶ 4]. Accordingly, this case is DISMISSED.

          The Clerk of Court shall CLOSE this case.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 20th day of March

  2024.



                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
